        Case 3:19-bk-30822          Doc 209 Filed 07/08/20 Entered 07/08/20 10:31:02                      Desc
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Form 30orfsty
(Rev. 6/19)

                                   UNITED STATES BANKRUPTCY COURT
                                          Southern District of Ohio
                                           120 West Third Street
                                          Dayton, OH 45402−1819


In     Tagnetics Inc.                                       Case No.: 3:19−bk−30822
Re:
                Debtor(s)                                   Chapter: 7
SSN/TAX ID:
       20−0173720                                           Judge: Guy R Humphrey




          ORDER CONTINUING AUTOMATIC STAY, SCHEDULING FINAL HEARING ON
        MOTION FOR RELIEF FROM AUTOMATIC STAY AND ORDERING OTHER MATTERS


Upon consideration of a motion for relief from automatic stay filed by Piqua Troy Investments, LLC pursuant to 11
U.S.C. §362(d) and the response filed by Debtor, Tagnetics, Inc., it is hereby ORDERED:

1. That the stay imposed by 11 U.S.C. §362(a) is hereby continued in effect until hearing is held or the Court orders
otherwise.

2. The final hearing on this matter shall be held before the Court on July 22, 2020 at 01:30 PM in the West
Courtroom, U.S. Bankruptcy Court, 120 West Third Street, Dayton, OH 45402.

3. All parties shall be prepared to present all witnesses and other evidence at the hearing. Any party intending to
present documentary evidence or call witnesses shall, not later than three (3) business days prior to the hearing,
file with the court and exchange with opposing party witness and exhibit lists completed as prescribed by Local
Bankruptcy Rule Form 7016−1, Attachments A and B.

4. Should any party fail to appear at the final hearing, the Court may dismiss or deny the motion, grant the relief
requested, impose sanctions, or take such other action as authorized by law.

No unauthorized weapons are permitted on the court's premises. Cellular phones and portable electronic
devices are permitted provided that they are not used to take photographs or record any court proceedings
unless otherwise authorized by the court.


Dated: July 8, 2020




                                                            Guy R Humphrey
                                                            United States Bankruptcy Judge
